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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION

 UNITED STATES OF AMERICA,                )
                                          )
                     Plaintiff,           )
                                          )     No. 4:23-CR-256-RLW-SRW
 v.                                       )
                                          )
 EDDIE LOVE,                              )
                                          )
              Defendant.                  )

                      UNITED STATES OF AMERICA’S
                CAPITAL CRIMES PROTOCOL STATUS REPORT

       COMES NOW the United States of America and respectfully informs this Court

 that, consistent with the magistrate judge’s Complex Case Finding and Order (see Doc. #

 28), the Department of Justice’s capital crimes review process as it relates to Defendant

 Eddie Love remains on-going as of on or about December 1, 2023.

                                                Respectfully submitted,

                                                SAYLER A. FLEMING
                                                United States Attorney

                                                /s/ Thomas Rea
                                                ANGIE DANIS
                                                THOMAS REA
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                               CERTIFICATE OF SERVICE

         The undersigned hereby certifies that on November 30, 2023, the foregoing was
 filed electronically with the Clerk of the Court to be served by operation of the Court’s
 electronic filing system upon all parties and counsel of record.

                                                  /s/ Thomas Rea
                                                  THOMAS REA




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